            Case 2:19-cr-00787-CJC Document 1 Filed 12/04/19 Page 1 of 6 Page ID #:1
AO 91 (Rev. 11/11) Criminal Complaint


                              UNITED STATES DISTRICT COURT
                                                                                                         FILED
                                                                                               CLERK U.S. DISTRICT COURT
                                                       for the

                                            Central District of California
                                                                                                  DEC- 4 2U19
                                                                                             CENTRAL DISTRICT OF CALIFORNIA
 United States of America                                                                    BY                     DEPUTY


                 V.
                                                                 Case No.
 Darren McGhee,
                                                                                                     572
                 Defendant


                                          CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief

On or about the date of November 27, 2019 in the county of Los Angeles in the Central District of California,

the defendant(s) violated:

           Code Section                                          Offense Description

           18 U.S.C. § 841(a)(1)                              ,Possession with Intent to Distribute
                                                               Controlled Substances

         This criminal complaint is based on these facts:

         Please see attached affidavit.

         El Continued on the attached sheet.


                                                                              Complainant's signature

                                                                       NORMAN TOBIAS, Special Agent
                                                                               Printed name and title
 Sworn to before me and signed in my presence.
                                                                                       MARIA A. AUDERO
 Date:                       12. LI. i
                                                                                 Judge's signature
0
legity and side: Los Angeles, California                          Hon. Maria A. Audero, U.S. Magistrate Judge
C.9                                                                            Printed name and title
0
AUSA: Douglas D. Hansen
  Case 2:19-cr-00787-CJC Document 1 Filed 12/04/19 Page 2 of 6 Page ID #:2




                                AFFIDAVIT

     I, Norman Tobias, being duly sworn, declare and state as

follows:

                     I.   PURPOSE OF AFFIDAVIT
     1.      This affidavit is made in support of a complaint and an

arrest warrant for DARREN FITZGERALD MCGHEE ("MCGHEE") for a

violation of Title 21, United States Code, Section 841(a)(1)

(Possession with Intent to Distribute Controlled Substances).
     2.      The facts set forth in this affidavit are based upon my

personal observations, my training and experience, and information

obtained from various law enforcement personnel and witnesses.

This affidavit is intended to show merely that there is sufficient

probable cause for the requested complaint and arrest warrant and

does not purport to set forth all of my knowledge of or

investigation into this matter.      Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and part only.

       II.     BACKGROUND OF SPECIAL AGENT NORMAN TOBIAS
     3.    I am a Special Agent ("SA") with the Drug Enforcement

Administration ("DEA") and have been so employed since 1996.           I am

currently assigned to the DEA Narcotics Task Force at the Los

Angeles International Airport ("LAXNTF"), which investigates

criminal enterprises that use the aviation system to transport

large amounts of illicit drugs throughout the United States and

the world.    LAXNTF consists of law enforcement officers from the

DEA, the Los Angeles World Airports Police Department ("LAXPD"),



                                     1
   Case 2:19-cr-00787-CJC Document 1 Filed 12/04/19 Page 3 of 6 Page ID #:3




the Los Angeles Police Department, and the Los Angeles County

Sheriff's Department.

     4.    As a DEA SA, I have been involved in over 1,000 drug-

related investigations, including numerous investigations

involving drugs being trafficked through the aviation system.             In

these investigations, I have conducted hundreds of interviews of

informants, cooperating sources, and suspects, and I have

'personally arrested more than 250 drug-related offenders.           Before

joining the DEA, I was a Border Patrol Agent for the United States

Border Patrol from August 1994 until July 1996.

     5.    Based on my training and experience and familiarity with

investigations into drug trafficking conducted by other law

enforcement agents, I know that Los Angeles is a major hub for

drug distribution.     Partly because of the close proximity of Los

Angeles to the Mexican border, prices of drugs are generally lower

here than prices on the East Coast or Midwest.          Drugs enter Los

Angeles from across the Mexican border or overseas from Asia and

are then distributed across the country.         LAX is commonly used to

facilitate drug transportation for drug trafficking organizations,

who send their couriers through LAX with drugs in their luggage.

Numerous drug arrests are made at LAX every year, with couriers

transporting drugs in checked bags.

                 III. SUMMARY OF PROBABLE CAUSE
     6.    During the late evening of November 27, 2019,

Transportation Security Administration ("TSA") officers at LAX

found six kilogram-sized bricks of what later field-tested


                                      2
   Case 2:19-cr-00787-CJC Document 1 Filed 12/04/19 Page 4 of 6 Page ID #:4




positive for 7.18 kilograms of cocaine in heavily taped packages

inside MCGHEE's checked suitcase.          During the early morning of

November 28, 2019, MCGHEE boarded United Airlines ("UA") flight

#1165, which was traveling from LAX to Newark Liberty

International Airport ("EWR") in Newark, New Jersey.           When UA1165

arrived in Newark, personnel from the Port Authority of New York &

New Jersey Police Department made contact with MCGHEE.           Upon

request, MCGHEE provided his New Jersey driver's license, which he
used to identify himself at LAX.          MCGHEE also stated he had

checked in one bag on this flight and that he had packed it

himself.   Although law enforcement seized MCGHEE's bag and the

cocaine, MCGHEE was not taken into custody and was allowed to

continue with his travel.

                    IV. STATEMENT OF PROBABLE CAUSE
     7.    Based on my review of law enforcement reports, as well

as my own observations and knowledge of the investigation, I am

aware of the following:

     A.    TSA Agents Discovered Drugs in MCGHEE's Checked Bag
     8.    According to the LAXPD report, on or about the late

evening of November 27, 2019, TSA Officer Ricardo Lopez was

assigned to conduct security screenings of checked luggage in the

LAX Terminal 7 baggage screening room.         A screening machine

identified •a suspicious bulk mass inside a checked suitcase and

alerted TSA Officer Lopez.

     9.    TSA Officer Lopez removed the suitcase from the

screening machine and opened the suitcase to search for any


                                      3
   Case 2:19-cr-00787-CJC Document 1 Filed 12/04/19 Page 5 of 6 Page ID #:5




birth on the reservation before allowing that passenger to check a

bag or suitcase.    That passenger's name (and not someone else's)

is then printed on the tag, which is then immediately affixed to

the bag or suitcase.     UA then typically takes custody of the bags

or suitcases from the passenger, thus making it highly unlikely

that someone else removed the tag from the checked suitcase and

placed it on a different suitcase.        This leads me to believe that

MCGHEE personally checked his black Samsonite suitcase with a UA

representative upon arriving at the airport.

     B.    The Kilogram-sized Bricks in MCGHEE's Suitcase Tested
           Positive for Cocaine Hydrochloride
     12.   TED Coronado and I arrived on scene at approximately

1:20 a.m. and secured MCGHEE's suitcase and its contents.            TFO

Coronado and I then transported the suitcase and suspected

narcotics to the DEA LAXNTF office, where we began processing them

as evidence.    I donned my personal protection equipment and began

testing each package with a TruNarc Raman spectrometer used for

the rapid identification of suspected narcotics.          All six packages

tested positive for Cocaine Hydrochloride, with a gross weight of

7.18 kilograms.

     C.    MCGHEE Contacted at Newark Liberty International Airport
     13.   When UA1165 landed at EWR, personnel from the Port

Authority of New York & New Jersey Police Department made contact

with MCGHEE.    Upon request, MCGHEE provided his New Jersey

driver's license, which he used to identify himself at LAX.

MCGHEE stated he had checked in one bag on this flight and that he



                                     5
   Case 2:19-cr-00787-CJC Document 1 Filed 12/04/19 Page 6 of 6 Page ID #:6




had packed it himself.       MCGHEE was not taken into custody and was

allowed to continue with his travel.

                            V.   CONCLUSION
     14.   Based on the foregoing, there is probable cause to

believe that MCGHEE violated Title 21, United States Code, Section

841(a)(1) (Possession with Intent to Distribute Controlled

Substances).


                                                       A/
                                          NORMAN TOBIAS
                                          DEA Special Agent



Subscribed to and sworn before me
this (1,, day of December, 2019.
               MARIA A. AUDEN°

HON. MARIA A. AUDERO
UNITED STATES MAGISTRATE JUDGE




                                      6
